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 8                                UNITED STATES DISTRICT COURT

 9                        FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11     Nicole Ramos,                                           No. 1:21-cv-1103-KJM-SAB
12                                Plaintiff,                   ORDER
13             v.
14
       Derral Adams, et al.,
15
                                  Defendants.
16

17            The court is in receipt of the parties’ joint request that they be referred to a magistrate

18     judge to conduct a court-convened settlement conference. ECF No. 119.

19            The court refers the parties to Magistrate Judge Barbara McAuliffe for a court-convened
20     settlement conference to occur on August 14, 2025, at 9:30 a.m. If the parties are unable to reach

21     a settlement, they are ordered to file an updated, complete and joint Final Pretrial Report within

22     120 days of the filing date of this order.

23            Finally, the parties are again reminded that continued failures to follow court orders,

24     including orders to timely file a Joint Status Report or failure to respond to communications from

25     the court, may result in the imposition of sanctions, including monetary sanctions, or if plaintiff

26     does not respond, dismissal for failure to prosecute.

27            IT IS SO ORDERED.

28     DATED: May 14, 2025.

                                                    SENIOR UNITED STATES DISTRICT JUDGE
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